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 7
 8                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                  Case No. 2:18-cv-3605
     THOMAS J. BAGGALEY, JR.,
11
                     Plaintiff,                     COMPLAINT AND DEMAND FOR
12                                                  JURY TRIAL
     vs.
13                                                       1. TCPA, 47 U.S.C. § 227 et. seq.
14                                                       2. RFDCPA, Cal. Civ. Code § 1788
     WELLS FARGO BANK, N.A.,                                et. seq.
15
                     Defendant.
16
17
18
                        COMPLAINT AND DEMAND FOR JURY TRIAL
19
20            Plaintiff Thomas J. Baggaley, Jr. (“Plaintiff”), by and through his attorneys,
21   alleges the following against Wells Fargo Bank, N.A. (“Defendant”):
22
                                         INTRODUCTION
23
24         1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection

25            Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly
26
              regulates the use of automated telephone equipment. Among other things, the
27
28            TCPA prohibits certain unsolicited marketing calls, restricts the use of automatic

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 1            dialers or prerecorded messages, and delegates rulemaking authority to the Federal

 2            Communications Commission (“FCC”).
 3
           2. Count II of Plaintiff’s Complaint is based upon Rosenthal Fair Debt Collection
 4
 5
              Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788, which prohibits debt

 6            collectors from engaging in abusive, deceptive and unfair practices in connection
 7
              with the collection of consumer debts.
 8
                                   JURISDICTION AND VENUE
 9
10         3. Jurisdiction of the court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.
11
           4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of the
12
              events or omissions giving rise to the claim occurred in this District.
13
14         5. Defendants transact business here; therefore, personal jurisdiction is established.
15
                                               PARTIES
16
           6. Plaintiff is a natural person residing in Penryn, Placer County, California.
17
18         7. Plaintiff is a debtor as defined by Cal. Civ. Code § 1788.2(h).
19
           8. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
20
           9. Defendant is a financial institution with its principal place of business located in
21
22            San Francisco, CA.
23
           10. Defendant acted through its agents, employees, officers, members, directors, heirs,
24
              successors, assigns, principals, trustees, sureties, subrogees, representatives, and
25
26            insurers.
27
     ///
28

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 1                               FACTUAL ALLEGATIONS

 2     11. Defendant is attempting to collect a debt from Plaintiff.
 3
       12. In or around January 2017, Defendant began placing calls to Plaintiff’s cellular
 4
 5
          phone number (916) 216-3981, in an attempt to collect an alleged debt.

 6     13. The calls originated from (800) 988-8019; (800) 225-5935; (877) 673-2256; (877)
 7
          673-3981; (602) 523-1205; (866) 272-7132; (866) 248-8389; (602) 523-1205;
 8
          and (602) 523-1208. Upon information and belief, these numbers are owned or
 9
10        operated by Defendant.
11
       14. On February 20, 2017, at 12:57 p.m., Plaintiff contacted the Defendant at (800)
12
          642-4720, and spoke to a customer service representative, Jamal.
13
14     15. During the conversation, Plaintiff told the Defendant that he did not wish to be
15
          called any further and requested that Defendant only communicate with him in
16
          writing.
17
18     16. On February 27, 2017, at 3:14 p.m., Plaintiff contacted the Defendant at (800) 642-
19
          4720, and spoke to a customer service representative, Jamal.
20
       17. During the conversation, Plaintiff told the Defendant that he did not wish to be
21
22        called any further and requested that Defendant only communicate with him in
23
          writing.
24
       18. There were several occasions where the Defendant called the Plaintiff four (4) to
25
26        five (5) times in one day.
27
       19. On or about April 17, 2017, Plaintiff received five (5) calls within an
28

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 1        approximately six (6) hour period to his cellular phone from the Defendant, at 8:26

 2        a.m.; 9:02 a.m.; 11:48 a.m.; 2:45 p.m.; and 3:21 p.m.
 3
       20. On or about April 18, 2017, Plaintiff received another four (4) calls within an
 4
 5
          approximately six (6) hour period to his cellular phone from the Defendant, at 8:39

 6        a.m.; 2:19 p.m.; 3:11 p.m.; and 3:48 p.m.
 7
       21. On or about May 4, 2017, at 1:40 p.m., Plaintiff answered a call from Defendant
 8
          originating from (866) 272-7132. Plaintiff heard a pause before a collection agent
 9
10        began to speak, indicating the use of an automated telephone dialing system.
11
       22. During that call, Plaintiff told the Defendant that he did not wish to be called any
12
          further and requested that Defendant only communicate with him in writing.
13
14     23. Between February 20, 2017 and September 18, 2017, Defendant called Plaintiff
15
          approximately one-hundred and seven (107) times.
16
       24. The Federal Communications Commission (“FCC”) noted in its 2003 TCPA Order
17
18        that a predictive dialer is “equipment that dials numbers and, when certain
19
          computer software is attached, also assists telemarketers in predicting when a sales
20
          agent will be available to take calls. The hardware, when paired with certain
21
22        software, has the capacity to store or produce numbers and dial those numbers at
23
          random, in sequential order, or from a database of numbers.” 2003 TCPA Order,
24
          18 FCC Rcd at 14091, para. 131.
25
26     25. The FCC further explained that the “principal feature of predictive dialing software
27
          is a timing function, not number storage or generation.” Id.
28

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
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 1     26. Finally, the FCC stated that “a predictive dialer falls within the meaning and

 2        statutory definition of ‘automatic telephone dialing equipment’ and the intent of
 3
          Congress.” Id. at 14091-92, paras. 132-33.
 4
       27. Defendant attempted to predict when Plaintiff was available by calling him at:
 5
 6        10:40 a.m. on March 6, 2017; 10:24 a.m. on March 7, 2017; 11:04 a.m. on March
 7
          8, 2017; 8:11 a.m. on March 9, 2017; 8:21 a.m. on March 11, 2017; and 8:21 a.m.
 8
          on March 12, 2017.
 9
10     28. The Defendant’s conduct in attempting to predict when Plaintiff was available is
11
          further illustrated throughout the call history between April 2017 and July 2017.
12
       29. The conduct was not only willful, but was done with the intention of causing
13
14        Plaintiff such distress, so as to induce him to pay the debt.
15
       30. Further, the conduct was done with such frequency so as to harass Plaintiff.
16
       31. As a result of Defendant’s conduct, Plaintiff has sustained actual damages
17
18        including but not limited to, embarrassment, emotional and mental pain and
19
          anguish.
20
                                           COUNT I
21
22                        (Violations of the TCPA, 47 U.S.C. § 227)
23
       32. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
24
          as though fully stated herein.
25
26     33. Defendant violated the TCPA. Defendant’s violations include, but are not limited
27
          to the following:
28

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                a. Within four years prior to the filing of this action, on multiple occasions,

 2                   Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in
 3
                     pertinent part, “It shall be unlawful for any person within the United States
 4
 5
                     . . . to make any call (other than a call made for emergency purposes or

 6                   made with the prior express consent of the called party) using any automatic
 7
                     telephone dialing system or an artificial or prerecorded voice — to any
 8
                     telephone number assigned to a . . . cellular telephone service . . . or any
 9
10                   service for which the called party is charged for the call.
11
                  b. Within four years prior to the filing of this action, on multiple occasions,
12
                     Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s
13
14                   cellular telephone using an artificial prerecorded voice or an automatic
15
                     telephone dialing system and as such, Defendants knowing and/or willfully
16
                     violated the TCPA.
17
18         34. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an
19
              award of five hundred dollars ($500.00) in statutory damages, for each and every
20
              violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendants
21
22            knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an award of
23
              one thousand five hundred dollars ($1,500.00), for each and every violation
24
              pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
25
26   ///
27
     ///
28

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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                        COUNT II

 2            (Violation of the Rosenthal Fair Debt Collection Practices Act,
 3
                                   CAL. CIV. CODE § 1788)
 4
 5
 6     35. Plaintiff incorporates herein by reference all of the above paragraphs of this
 7
          Complaint as though fully set forth herein at length.
 8
       36. Defendant violated the RFDCPA. Defendant’s violations include, but are not
 9
10        limited to, the following:
11
             a. Defendant violated Cal. Civ. Code § 1788.11(d) by causing a telephone to
12
                 ring repeatedly or continuously to annoy the person called;
13
14           b. Defendant violated Cal. Civ. Code § 1788.17 by collecting or attempting to
15
                 collect a consumer debt without complying with the provisions of Sections
16
                 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair
17
18               Debt Collection Practices Act).
19
                     i. Defendants violated Cal. Civ. Code § 1788.17 by violating 15 U.S.C.
20
                        § 1692d by engaging in conduct, the natural consequence of which
21
22                      is to harass, oppress or abuse any person in connection with the
23
                        collection of the alleged debt; and
24
                    ii. Defendant violated Cal. Civ. Code § 1788.17 by violating 15 U.S.C.
25
26                      § 1692d(5) by causing Plaintiff’s phone to ring or engaging Plaintiff
27
                        in telephone conversations repeatedly;
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                         COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                  iii. Defendant violated CAL. CIV. CODE § 1788.17 by violating 15

 2                       U.S.C. § 1692f by using unfair or unconscionable means in
 3
                         connection with the collection of an alleged debt; and
 4
        37. Defendant’s acts, as described above, were done intentionally with the purpose of
 5
 6         coercing Plaintiff to pay the alleged debt.
 7
        38. As a result of the foregoing violations of the RFDCPA, Defendants are liable to
 8
           Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.
 9
10                                  PRAYER FOR RELIEF
11
           WHEREFORE, Plaintiff Thomas J. Baggaley, Jr. respectfully requests judgment
12
     be entered against Defendant, Wells Fargo Bank, N.A., for the following:
13
14             A. Declaratory judgment that Defendant violated the RFDCPA;
15
               B. Statutory damages of $1,000.00 pursuant to the RFDCPA, Cal. Civ. Code
16
                  §1788.30(b);
17
18             C. Actual damages pursuant to Cal. Civ. Code §1788.30(b);
19
               D. Costs and reasonable attorneys’ fees pursuant to the RFDCPA, Cal. Civ.
20
                  Code §1788.30(c);
21
22             E. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
23
                  227(b)(3)(C);
24
               F. Awarding Plaintiff any pre-judgment and post-judgment interest as may be
25
26                allowed under the law; and
27
               G. Any other relief that this Honorable Court deems appropriate.
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 1                              DEMAND FOR JURY TRIAL

 2        Please take notice that Plaintiff demands a trial by jury in this action.
 3
 4
 5
       RESPECTFULLY SUBMITTED,

 6
 7        Dated: April 27, 2018                        By:/s/ Brian Brazier .
                                                       Brian Brazier, Esq. (SBN: 245004)
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